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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
                   Plaintiff,                 )
                                              )
       vs.                                    )            NO. 2:10-CR-109
                                              )
 JERMAINE ELLIS,                              )
 a/k/a “J-DUB”,                               )
 a/k/a “DONNIE BRASCO”,                       )
 a/k/a “SHORTY”,                              )
                                              )
 Defendant.                                   )

                                     ORDER

       This   matter   is   before      the   Court   on    the    Findings     and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty (DE

 #105) filed on October 27, 2010.         No objections have been filed to

 Magistrate Judge Rodovich’s findings and recommendations upon a

 plea of guilty.     Accordingly, the Court now ADOPTS those findings

 and recommendations, ACCEPTS the guilty plea of Defendant Jermaine

 Ellis, and FINDS the Defendant guilty of Count 1 of the Indictment,

 in violation of Title 18 U.S.C. § 1962(d).           This matter is set for

 sentencing on April 14, 2011, at 1:00 p.m.



 DATED: November 16, 2010                     /s/RUDY LOZANO, Judge
                                              United States District Court
